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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

UNITED STATES OF AMERICA                                                                       Plaintiff

v.                                                              Criminal Action No. 3:22-cr-84-RGJ

OFFICER BRETT HANKISON                                                                       Defendant


                                              * * * * *

                                     AMENDED
                           ORDER FOLLOWING ARRAIGNMENT

         This matter came before the Court, by video, on August 4, 2022, for the purposes of

initial appearance and arraignment. Michael J. Songer, Zachary D. Dembo, and Anna Gotfryd,

Assistant United States Attorneys, appeared for the United States. Defendant Brett Hankison

appeared, in custody, with Brian Butler1. The proceeding was recorded by Becky Boyd, Official

Court Reporter.

         The Court orally reminded the United States of its prosecutorial obligation under Brady v.

Maryland, 373 U.S. 83 (1963), and the consequences of violating the same.

         As to the matter of arraignment, Defendant, by counsel, acknowledged his identity. He

further acknowledged having been advised of the nature of the charges contained therein.

Counsel, on behalf of Defendant, waived formal reading of the Indictment and entered a plea of

NOT GUILTY to the charges contained therein.

         Accordingly, IT IS HEREBY ORDERED as follows:

         (1)    Trial. This matter is assigned for trial by jury on October 13, 2022 at 9:30 a.m.,

before the Honorable Rebecca Grady Jennings, United States District Judge. Counsel shall be in


1Brian Butler represented the defendant for the purpose of initial appearance and arraignment only. The
defendant will retain counsel for future proceedings.
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court thirty minutes before trial. The Western District of Kentucky’s plan for the qualification

and random selection of grand and petit jurors, General Order 2013-02, is available on the

Court’s website at https://www.kywd.uscourts.gov/jury-info. Pursuant to Section 5.02 of the

Plan, “the names of persons assigned to individual petit jury panels, as well as the contents of

their juror qualification questionnaires, may be disclosed to the parties seven days prior to the

trial date unless otherwise ordered by the court.”

       (2)     Status Conference. This matter is assigned for a status conference on September

14, 2022 at 1:00 p.m. before Judge Rebecca Grady Jennings at the Gene Snyder United States

Courthouse, Louisville, Kentucky.

       (3)     Pretrial Discovery and Inspection.

               (a)     No later than August 11, 2022, the Assistant United States Attorney and

defense counsel shall confer and, upon request, permit inspection and copying or photographing

of all matter subject to disclosure under Federal Rule of Criminal Procedure 16.

               (b)     If additional discovery or inspection is sought, Defendant’s attorney shall

confer with the Assistant United States Attorney with a view to satisfying these requests in a

cooperative atmosphere without recourse to the Court. The request may be oral or written, and

the Assistant United States Attorney shall respond in like manner.

                       (i)    Jencks Act material. Jencks Act material pursuant to 18 U.S.C.
                              § 3500 is not required to be furnished to Defendant by the United
                              States prior to trial.

                       (ii)   Brady (Giglio) material. The United States shall disclose any
                              Brady material of which it has knowledge in the following manner
                              and failure to disclose Brady material at a time when it can be
                              effectively used at trial may result in a recess or a continuance so
                              that Defendant may properly utilize such evidence:

                              (A)     pretrial disclosure of any Brady material discoverable
                                      under Rule 16(a)(1);
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                                (B)    disclosure of all other Brady material in time for effective
                                       use at trial;

                                (C)    if the United States has knowledge of Brady evidence and
                                       is unsure as to the nature of the evidence and the proper
                                       time for disclosure, then it may request an in camera
                                       hearing for the purpose of resolving this issue.

                        (iii)   Rule 404(b) evidence. Failure to disclose Brady material at a time
                                when it can be effectively used at trial may result in a recess or a
                                continuance so that Defendant may properly utilize such evidence.

                (c) Any motion for additional discovery or inspection shall be made on or

before August 18, 2022, after compliance by the parties with Federal Rule of Criminal

Procedure 16.     Any such motion shall contain a certification from counsel that informal,

extrajudicial efforts to resolve the discovery dispute have taken place and been unsuccessful.

                (d)     If required to be disclosed pursuant to Federal Rule of Criminal Procedure

16(a)(1)(G) or 16(b)(1)(C), any expert testimony the United States or Defendant intends to use

under Rule 702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief, including

a summary of the witness’s opinions, the bases and reasons for those opinions, and the witness’s

qualifications, shall be disclosed on or before August 25, 2022.

                (e)     Any expert testimony either the United States or Defendant intends to use

to rebut an expert under Rule 702, 703, or 705 of the Federal Rules of Evidence shall be

disclosed on or before September 1, 2022.

                (f)     The parties are reminded of the continuing duty under Federal Rule of

Criminal Procedure 16(c) to disclose additional discoverable evidence or material previously

requested or ordered.

       (4)      Defensive Motions.
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               (a)    Generally. All motions shall comply with Local Rule 12.1. Defensive

motions, and any other motion requiring a pretrial hearing, including any motion to exclude the

testimony of an expert witness pursuant to Daubert v. Merrell Dow Pharmaceuticals, 509 U.S.

579 (1993), shall be filed no later than September 8, 2022.

               (b)    Motions to Suppress. Paragraph 4(a) shall apply to motions to suppress

evidence, except that the opposing memorandum of the United States with regard to such

motions shall be filed no later than three (3) business days prior to the date of any suppression

hearing, unless otherwise ordered. Motions to suppress shall comply with Local Rule 12.1,

including, but not limited to Local Rule 12.1(a), which requires a motion state with particularity

the grounds for the motion, the relief sought, and the legal argument necessary to support

it. Further, a motion to suppress must expressly identify the exact statement(s) and/or evidence

sought to be suppressed. If a motion to suppress includes a request for an evidentiary hearing,

the motion must expressly identify the factual issues in dispute. MOTIONS TO SUPPRESS

THAT FAIL TO COMPLY WITH THESE REQUIREMENTS WILL BE DENIED AS A

MATTER OF COURSE.

       (5)     Pretrial filings. No later than September 22, 2022, each party shall file a trial

memorandum containing the following:

               (a)    The statute(s) involved and elements of the offense(s) (with discussion of
                      authorities, if disputed).

               (b)    A statement of undisputed and disputed facts.

               (c)    A separate statement of each unresolved substantive issue of law, with
                      discussion and citations to authorities.

               (d)    A statement of evidentiary issues it is reasonably believed will be raised at
                      trial, together with citations to the appropriate Federal Rules of Evidence
                      and authorities in support of the position taken.
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              (e)     A statement of any known or reasonably anticipated potential trial
                      problems, or other issues that may assist the Court in trying the case.

              (f)     Proposed substantive and special jury instructions with citations to
                      authorities. It is not necessary to submit standard general instructions.
                      Additional requests at trial are to be kept to a minimum.

              (g)     Proposed voir dire questions.

              (h)     Counsel shall file an exhibit list and premark for identification purposes
                      all exhibits intended to be used at trial. Counsel shall file a stipulation as
                      to the authenticity of the exhibits. Any objections to the authenticity of
                      the exhibits shall be heard prior to trial at a time and place to be set by the
                      Court.

              (i)     The United States shall submit, for the Court’s in camera review, a
                      proposed witness list with a brief summary of the expected testimony of
                      each witness and an estimate the amount of time that will be required
                      to present the testimony in chief of each witness. The witness list shall be
                     submitted by e-mail to Judge_Jennings_Chambers@kywd.uscourts.gov.

              (j)     At the commencement of trial, the United States shall furnish the official
                      court reporter a list of premarked exhibits intended to be used at trial.

              (k)     The United States shall retain possession of physical exhibits (e.g.,
                      weapons, ammunition, drugs, etc.) during and after the trial, pending
                      further orders of the Court.

       (6)    Motions in Limine and Objections to Proposed Jury Instructions. Any motions in

limine, including evidentiary objections to portions of audio/video tapes and/or depositions,

and/or objections to proposed jury instructions, shall be filed on or before September 29,

2022. Responses shall be filed on or before October 6, 2022. There shall be no replies. To the

extent available, the parties shall provide copies of transcripts of all audio/video tapes and

deposition testimony being challenged. Objections shall be made specifically to page and line.

       (7)    Compliance with Local Rules. All motions, responses, and replies made pursuant

to this Order shall conform to and are subject to the requirements and time limitations contained

in Local Criminal Rule 12.1, except as otherwise provided herein.
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       (8)    Detention. By agreement of the parties, the defendant is released on an unsecured

bond in the amount of $50,000.00 with conditions pending further order of the Court.

       Date: August 5, 2022         ENTERED BY ORDER OF COURT
                                    REGINA S. EDWARDS, MAGISTRATE JUDGE
                                    UNITED STATES DISTRICT COURT
                                    JAMES J. VILT, JR., CLERK
                                     BY: /s/: Ashley Henry
                                             Deputy Clerk
Copies to:    Counsel of record
              Probation Office
              Jury Administrator
